           Case 1:20-cv-02658-CJN Document 59 Filed 12/07/20 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


TIKTOK INC., et al.,

               Plaintiffs,

      v.
                                                       Civil Action No. 1:20-cv-02658 (CJN)
DONALD J. TRUMP, President of the
United States, et al.,

               Defendants.


                                              ORDER

         For the reasons stated in the accompanying Memorandum Opinion, ECF No. 60, it is

hereby

         ORDERED that Plaintiffs’ Renewed Motion for Preliminary Injunction, ECF No. 43, is

GRANTED as to the prohibited transactions in the Commerce Identification. U.S. Dep’t of

Commerce, Identification of Prohibited Transactions to Implement Executive Order 13942 and

Address the Threat Posed by TikTok and the National Emergency with Respect to the

Information and Communications Technology and Services Supply Chain, 85 Fed. Reg. 60061–

63 (Sept. 24, 2020) (“Commerce Identification”). It is further

         ORDERED that by December 18, 2020, the Parties shall meet, confer, and file a Joint

Status Report proposing a schedule for further proceedings. The Parties may also address any

other issues that they believe will be helpful to the Court.




DATE: December 7, 2020
                                                               CARL J. NICHOLS
                                                               United States District Judge
